Case 2:04-cv-02522-.]DB-dkv Document 13 Filed 05/18/05 Page 10f4 Page|D

  

IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE

AT MEMPHIS

SHARRON BESSENT, )
)
Plaintiff, )
)

v. ) Case No. 04-2522-BV
)
I)YERSBURG STATE COMMUNITY )
COLLEGE, and DR. KAREN BOWYER, )
lndividually and in her official capacity )
as President of Dyersburg State )
Community College, )
)
Defendants. )

 

ORDER
GRANTING EXTENSION OF DEADLINES

 

The parties’ Joint Motion to Extend Discovery and Dispositive Motion Deadlines is found
to be Well taken, and is GRANTED.
lt is, thus, ORDERED that the parties Shall have until May 27, 2005 to complete discovery,

and until June 24, 2005 to file dispositive motions.

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ENTERED this the /7?" day of '2}/@_/3_ , 2005.

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APPROVED FOR ENTRY:

PAUL G. SUMMERS
ATTORNEY GENERAL AND REPORTER

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""}£`;`{’~\--/[ Lt if //f t'_ ~.v,/`('»/ itt (,»'§
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Counsel for Defendants

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Arrhur F. Knight, 111,/(#16178) ' ’ /'
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CERTIFICATE OF SERVICE

l certify that a true and exact copy of the forgoing has been served by Way of U.S. mail on
the following

Mr. Arthur F. Knight, III
Becker, Fleishman, Brown & Knight, P.C.
P.O. Box 1710
K_noxville, TN 37901-1710

lti' ` ' r
This the ,-'o?” ‘ day Of May, 2005.

-"wi' it,c/L(.;»r/ M"M t_.<,z¢
Katherine K. Schulz (#22274) y

I"RISCT OURT - WESTERN DISTICRT OF TNNEESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 13 in
case 2:04-CV-02522 Was distributed by faX, mail, or direct printing on
May 19, 2005 to the parties listed.

 

 

Arthur F. Knight

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Honorable J. Breen
US DISTRICT COURT

